                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION

 IN THE MATTER OF WARRANTS AND
 ORDERS FOR PEN REGISTERS AND
 TRAP AND TRACE DEVICES ISSUED IN
 AN INVESTIGATION


                                             ORDER

       Upon motion of the United States to unseal numerous warrants and orders authorizing the

installation and use of pen registers and trap and trace devices issued during the course of a long-

term investigation, it is ORDERED that the following matters and the documents filed in those

matters are hereby UNSEALED:


                                         Case Number

                                           18-mj-2297
                                           19-mj-1137
                                           19-mj-2009
                                           19-mj-2064
                                           19-mj-2078
                                           19-mj-2081
                                           19-mj-2083
                                           19-mj-2084
                                           19-mj-2085
                                           19-mj-2087
                                           19-mj-2099
                                           19-mj-2109
                                           19-mj-2110
                                           19-mj-2112
                                           19-mj-2152
                                           19-mj-2156
                                           19-mj-2157
                                           19-mj-2163
                                           19-mj-2165




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                            Case Number

                             19-mj-4021
                             19-mj-4095
                             19-mj-4107
                             19-mj-4135
                             19-mj-4138
                             19-mj-4147
                             19-mj-4148
                             19-mj-4149
                             19-mj-4150
                             19-mj-4151
                             19-mj-4189




   February 4, 2022
  __________________                  ____________________________
  Date                                Hon. BARBARA D. HOLMES
                                      United States Magistrate Judge
                                      Middle District of Tennessee




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